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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION

 Bahia Amawi,                                                     §
                                       Plaintiff,                 §
                                                                  §
 v.                                                               §         Civil Action No. 1:18-CV-1091-RP
                                                                  §
 Pflugerville Independent School District; and                    §                      consolidated with:
 Ken Paxton, in his official capacity as                          §
 Attorney General of Texas,                                       §         Civil Action No. 1:18-CV-1100-RP
                               Defendants.                        §

                        DEFENDANT KEN PAXTON’S ANSWER AND DEFENSES TO
                       PLAINTIFF BAHIA AMAWI’S COMPLAINT AND JURY DEMAND

         Defendant Ken Paxton respectfully files his Original Answer to Plaintiff Bahia Amawi’s

Complaint and Jury Demand (Doc. 1), and shows the Court as follows:

                                              ANSWER TO COMPLAINT

         Pursuant to Federal Rule of Civil Procedure 8(d), Defendant denies each and every allegation

contained in the Complaint except for those expressly admitted herein. The headings and numbered

paragraphs below directly correlate to the sections and numbered paragraphs of the Complaint.

Those titles and headings are reproduced in this Answer for organizational purposes only, and

Defendant Paxton does not admit any matter contained therein.

                                                         INTRODUCTION

         1.        Paragraph 1 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

         2.        Defendant lacks sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis denies the allegations in their entirety.

         3.        Defendant admits that in 2017, Chapter 2270 of the Texas Government Code was



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enacted into law. Defendant denies the remaining allegations Paragraph 3 of the Complaint.

         4.        Defendant lacks sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis denies the allegations in their entirety.

         5.        Paragraph 5 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

                                                              PARTIES

         6.        Defendant admits that Bahia Amawi is a plaintiff in this matter. Defendant lacks

sufficient knowledge or information to form a belief about the truth of the remaining allegations

contained in this Paragraph, and on that basis denies the allegations in their entirety.

         7.        Defendant lacks sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis denies the allegations in their entirety.

         8.        Defendant admits that Ken Paxton is the Attorney General of Texas and that Plaintiff

has sued him in his official capacity only. The remainder of Paragraph 5 contains assertions of law,

conclusory statements, and/or argument to which no response is required. To the extent that this

Paragraph contains any additional factual allegations requiring a response, Defendant denies the

allegations in this Paragraph.

                                               JURISDICTION & VENUE

         9.        Paragraph 9 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant admits that, as a general matter, 28 U.S.C. § 1331 grants this Court

jurisdiction to hear federal questions. Defendant denies that Defendant has committed any violation

of applicable law or that Plaintiff has otherwise demonstrated this Court’s subject matter jurisdiction

over any claims against Defendant.



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         10.       Paragraph 10 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

         11.       Paragraph 11 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

         12.       Paragraph 12 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant admits that, as a general matter, 28 U.S.C. § 1391(b) addresses the

appropriate venue for cases over which this Court may have jurisdiction, including that “[a] civil action

may be brought in . . . a judicial district in which a substantial part of the events or omissions giving

rise to the claim occurred, or a substantial part of property that is the subject of the action is situated.”

Defendant denies that he has committed any violation of applicable law.

                                                    FACTUAL BACKGROUND

               The Israel – Palestine Conflict is a Fraught Issue of International Importance

         13.       Defendant lacks sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis denies the allegations in their entirety.

         14.       Defendant lacks sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis denies the allegations in their entirety.

         15.       Defendant lacks sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis denies the allegations in their entirety.

         16.       Defendant lacks sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis denies the allegations in their entirety.

         17.       Defendant lacks sufficient knowledge or information to form a belief about the truth



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of the allegations contained in this Paragraph, and on that basis denies the allegations in their entirety.

                      Texas Passes Anti-Boycott, Divestment, and Sanctions Legislation

         18.       Defendant lacks sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis denies the allegations in their entirety.

         19.       Defendant denies the allegations in Paragraph 19 of the Complaint.

         20.       Defendant admits that the Legislature passed, and the Governor signed, House Bill

89, which in relevant part is codified at Chapter 2270 of the Texas Government Code. Defendant

admits that Representative Phil King issued a statement regarding House Bill 89. Defendant denies

the remaining allegations in Paragraph 20 of the Complaint.

         21.       Defendant admits that Chapter 2270 provides, in part, that a “governmental entity may

not enter into a contract with a company for goods or services unless the contract contains a written

verification from the company that it: (1) does not boycott Israel; and (2) will not boycott Israel during

the term of the contract.” Tex. Gov’t Code § 2270.002. Defendant denies the remaining allegations in

Paragraph 21 of the Complaint.

         22.       Paragraph 22 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant admits that this Paragraph recites a portion of Section 2270.002 of

the Texas Government Code.

         23.       Paragraph 23 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant admits that this Paragraph recites a portion of Section 808.001 of the

Texas Government Code.

         24.       Paragraph 24 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations



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requiring a response, Defendant denies that this Paragraph reflects the changes to Chapter 2270 passed

in House Bill 793 and denies the remaining allegations in this Paragraph.

         25.       Defendant lacks sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis denies the allegations in their entirety.

                      Children’s Speech Language Pathologist Forces to Resign Contract

         26.       Defendant lacks sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis denies the allegations in their entirety.

         27.       Defendant lacks sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis denies the allegations in their entirety.

         28.       Defendant lacks sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis denies the allegations in their entirety.

         29.       Defendant lacks sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis denies the allegations in their entirety.

         30.       Defendant lacks sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis denies the allegations in their entirety.

         31.       Defendant lacks sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis denies the allegations in their entirety.

         32.       Defendant lacks sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis denies the allegations in their entirety.

         33.       Defendant lacks sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis denies the allegations in their entirety.

         34.       Defendant lacks sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis denies the allegations in their entirety.

         35.       Defendant lacks sufficient knowledge or information to form a belief about the truth



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of the allegations contained in this Paragraph, and on that basis denies the allegations in their entirety.

         36.       Defendant lacks sufficient knowledge or information to form a belief about the truth

of the allegations contained in this Paragraph, and on that basis denies the allegations in their entirety.

                                         FIRST CAUSE OF ACTION
                        VIOLATION OF THE FIRST AND FOURTEENTH AMENDMENTS TO
                                         THE U.S. CONSTITUTION

         37.       Defendant repeats and reaffirms his answers to each and every allegation contained in

the paragraphs above and incorporates the same herein as though fully set forth.

         38.       Paragraph 38 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant admits that this Paragraph recites from the First Amendment to the

United States Constitution.

         39.       Paragraph 39 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

         40.       Paragraph 40 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

         41.       Paragraph 41 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

         42.       Paragraph 42 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

         43.       Paragraph 43 contains assertions of law, conclusory statements, and/or argument to



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which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

         44.       Paragraph 44 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

         45.       Paragraph 45 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

         46.       Paragraph 46 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

         47.       Paragraph 47 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

         48.       Paragraph 48 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

         49.       Paragraph 49 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

         50.       Paragraph 50 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

         51.       Paragraph 51 contains assertions of law, conclusory statements, and/or argument to



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which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

         52.       Paragraph 52 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

         53.       Paragraph 53 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

         54.       Paragraph 54 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

         55.       Paragraph 55 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

         56.       Paragraph 56 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

         57.       Paragraph 57 contains assertions of law, conclusory statements, and/or argument to

which no response is required. To the extent that this Paragraph contains any factual allegations

requiring a response, Defendant denies the allegations in this Paragraph.

                                                      PRAYER FOR RELIEF

         Defendant denies that any relief sought by Plaintiff in paragraphs (A)-(H) in the “Prayer for

Relief” section of her Complaint is appropriate and warranted.




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                                                           Jury Demand

         Defendant admits that Plaintiff seeks a trial by jury. Defendant denies that any relief is

appropriate or warranted and denies that Plaintiff is entitled to a jury trial in this matter.

                                                             DEFENSES

Defendant asserts the following defenses:

         1.        Defendant asserts the defense of Eleventh Amendment immunity to all claims to

which that defense applies.

         2.        Defendant asserts that Plaintiff lacks standing to pursue any of their claims against

Defendant.

         3.        Defendant asserts that Plaintiff’s claims against Defendant are moot.

         4.        Defendant asserts that Plaintiff has failed to state claims upon which relief can be

granted.

         5.        Defendant asserts that he has fully complied with all applicable laws.

         6.        Defendant reserves the right to raise additional affirmative defenses as they become

apparent during the development of the case.

                                                          PRAYER

         Defendant Ken Paxton prays that Plaintiff take nothing by this suit, that all costs be taxed

adjudged against Plaintiff, and that Defendant be granted such other relief to which he may be justly

entitled.




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                                                              Respectfully submitted.

                                                               KEN PAXTON
                                                               Attorney General of Texas

                                                               JEFFREY C. MATEER
                                                               First Assistant Attorney General

                                                               DARREN L. MCCARTY
                                                               Deputy Attorney General for Civil Litigation

                                                               AMANDA J. COCHRAN-MCCALL
                                                               Chief for General Litigation Division

                                                               /s/ Michael R. Abrams
                                                               MICHAEL R. ABRAMS
                                                               Texas Bar No. 24087072
                                                               Assistant Attorney General
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                                                               Counsel for Defendant Ken Paxton




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                                          CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing document was served upon Plaintiffs’
 counsel of record through the Court’s electronic filing system on May 9, 2019.

                                                                    /s/ Michael R. Abrams
                                                                    MICHAEL R. ABRAMS




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